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                                                   TEMPONERAS ENTITY PURCHASES
                                          From Chargeback data (MNK-T1_0007965587 & 5588)

                              Orders                                   Oxy 15 (UOM)                                  Oxy 30 (UOM)

   Year        MediMart    Temponeras      Combined       MediMart      Temponeras      Combined        MediMart      Temponeras    Combined
   2002           2            0              2               0              0              0               0              0            0
   2003           3            0              3               0              0              0               0              0            0
   2004           22           0              22              0              0              0               0              0            0
   2005           5            0              5               0              0              0               0              0            0
   2006           12           0              12            1,000            0            1,000           1,200            0          1,200
   2007          144           0             144           177,500           0           177,500         256,000           0         256,000
   2008          296           23            319           329,500         45,400        374,900         409,400         22,800      432,200
   2009          227          187            414            88,800        165,600        254,400         134,300        213,200      347,500
   2010          296          175            471            71,100        217,400        288,500          86,100        284,400      370,500
   2011           14           0              14              0              0              0               0              0            0

2003 to 2011    1,021          385           1,406         667,900        428,400        1,096,300       887,000        520,400     1,407,400




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